 

Oct 23 2019 10:57AM 9038139265 page 3
AFFIDAVIT
STATE OF TEXAS §

4 8
_ COUNTY OF Fanny  §

BEFORE ME, the undersigned authority, personally appeared Lida Waite ke {| , who,
being by me duly sworn deposed and said: .

"My name is Liada MO. ¥cl Nel \ . Lam over the age of twenty-one years, of sound mind,
capable of making this affidavit, and personally acquainted with the facts herein stated,

"Tam the custodian of records of The Family Care Clinic and Dr. James E. Froclich. Attached hereto
are LY pages of records reflecting treatment and services rendered to David W. Spindle by said medical facility.
These records are kept in the regular course of business, and it was the regular course of business in the office of a
representative of that medical facility, with knowledge of the act, event, condition or opinion recorded, to make the
record or to transmit information thereof to be included in such record; and the record was made at or near the time
of the act, event, condition or opinion recorded, or reasonably soon thereafter.: The records attached hereto are exact
duplicates of the originals, atid it is a rule of said medical facility not to permit the originals to leave its office,"

nda Leap

 

Rifiant

. . 7 :
SUBSCRIBED AND SWORN TO before me on the 1 ray or OC tol XN 2019, 0 certify ‘which

witness my hand and seal of office.

   
       
 

Public, tate of Texas

aclun Owens

 

 

 

 

a RSE Printed Narde of Notary
te ay My Commission Expires; O18 LOU

 

 

 

 

 

 

 
  
   
   

ae
3 Me, JACLYN DELANE OWENS
‘fete Notary Public, State of Texaa
: rape Comm. Expires 01-08-2022
aciiuw’ Notary ID 12966787.7

   

 

 

 
 

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Family Care Clinic a

@)
2105:N. Center St. Wen a ae
‘Bonham, Texas 75418 . <

 

LE, FROELICH, D.O.

' Family Practice - General Medicine

Office: 583-3191
Fax: 583-3973
Hospital: 583-8585

 

Mr.
Mrs,
Me.

 

 

 

was under my care from to

_ and will be able to return to work/schaol nl Aad-AOy
Remarks

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SAS WAL wea. Ono

 

 

 

 

 

 

 

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Oct 23 2019 10:57AM 9038133265 pags 4

CONSENT FOR RELEASE OF MEDICAL RECORDS

| hereby authorize /-E. Froelich, DO/Family Care Clinl¢ 1, reteage the following information {rom the health records of

Patient Name; David W. Spindle 00 ay _.
Patient Address PO.Box 323, Ector, TX.75439

COMPLETE MEDICAL RECORDS
EXCLUDING INFORMATION RELATED TO HIV AND/OR RESULTS

C]

O
[] HISTORY AND PHYSICAL ONLY

Ja OTHER: Copy of "Certificate to Return to Work" on 12/20/2017

The reason for this fequestis: [1 Transfer of care to another healthcare physician
(C11 24 Opinion
© Social Seounty/Digability
Pe olher: Employment law ault

Please release requested information to:

Ronald R. Huff Other
Law Office of Ronald R. Huff

112 S..-Crockett St.

Sherman, Texas 75090

903-893-1616

903-813-3265

. ronhuff@gcecisp.com \ ae
! undersiand that this consent can be revoked at any tne except to the exient thet disclosure made in good faith has alreedy occurred

in reliance on this consent. The facility, t's employee’s and attending physicians are released from legal responsibility or liability for the
release of the above Information to the axtent Indicated and authorized harein.

Vliet ~ = (LOLI L/P
a Date ° . ¥

 

 

 

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Witness Signature Date

 
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Case 418-cV-00818 SD). KPI Document 64-1 Filed 10/25/19 Page 4 of 4 PagelD #: 1097

 

 

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RONALD R. HUFY
ATTORNEY AND COUNSELOR AT LAW
102 Sount Caogkean Stexst
SHERMAN, TEXAS 75099 i
RONALD BR, HUFF Tel. 983-893-1636
ronhul{@xcxelyp.com , : Fax; 909-813-3265
October 23, 2019

Via facsimile no. 903-583-3973 i

Custodian of Records
James EB. Froelich, D.O, i
Family Care Clinic

2105 N, Center St,

Bonham, TX 75418

Re: David W. Spindle
Date of Birth: 04/08/1952

Dear Representative:

This office represents David W. Spindle. In that regard, please complete the enclosed
affidavit, ATTACH 4 COPY OF THE “CERTIFICATE TO RETURN TO WORK” RELEASING
MR. SPINDLE TO RETURN TO WORK ON 12/20/2017 FROM YOUR MEDICAL RECORDS,
and then forward them to this office, An authorization signed by Mr. Spindle for the release of this
information is enclosed,

Under the TEXAS RULES OF CrvuL PROCEDURE, this evidence can be obtained and submitted
to the Court by affidavit, which alleviates the necessity of subpoenaing your appearance with these
records at the time of trial,

If there is a charge for these copies or otherwise, please let us know, and we will remit same.
Your cooperation and assistance in, this matter are appreciated.

Sincerely,

 

‘jr
Enclosures

 
